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Ronald Van Hook
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U.S. COURTS
MAY 98 2019

Revd HEN W. KENYON

CLERK, PE NSTRICT OF IDAHO

IN THE UNITED STATES DISTRICT COURT FOR
THE FOURTH JUDICIAL DISTRICT OF IDAHO SOUTHERN DIVISION

Ronald Van Hook - Pro Se
Gabriel Van Hook and Nathan Van Hook

Plaintiffs

VS.

State of Idaho
Idaho Bar Association

 

 

Case No. |: 1:14-Qu- | 1¢ CN: {10 - BLW

CIVIL ACTION

COMPLAINT FOR VIOLATIONS OF:

(1) 42 U.S.C. § 1983 -
Civil Rights Violations

(2) 18 USC Chapter 96 -

Steven Fisher and Fisher law firm Racketeering
Mary Grant, Kimberli Stretch and Idaho Legal Aid (3) 15 USC Chapter 1 -
Virginia Bond and Bond Law Chartered Monopolies
Christopher D. Boyd and/or Adams County Idaho
John Doe(s) 1-100 ee DEMAND FOR JURY TRIAL
Unknown Agents (of Idaho Third Judicial District)
Defendants ee
Ra #0, 2| 212 | 4
COMPLAINT FOR DAMAGES swe, *
and OM og

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

Plaintiff, RONALD VAN HOOK, (Hereinafter "VAN HOOK") and VAN HOOK for and

on behalf of his minor sons Gabriel Van Hook (DOB 2-24-2004) (Hereinafter Gabriel") and

Nathan Van Hook (DOB 8-10-2007) (Hereinafter "Nathan") Complains against Defendants.

 
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INTRODUCTION

1. This action is pursuant to 42 U.S.C. § 1983 for deprivation of Civil Rights under
Color of Law.

2. This action Challenges the State of Idaho and any laws or rules by which The State of
Idaho, and/or any of the Defendants, who as an Actor for the State of Idaho and/or Under Color
of Law denies Parental Rights, denies the Right to Petition for Redress of Grievances, Denies
Due Process, Fails to guarantee Equal Protection under the Law, Inflicts Cruel and Unusual
Punishment, subjects to Involuntary Servitude, Deprives of Life, Liberty and Property, and
Covers-Up numerous Crimes committed. (Listing of more specific violations to follow)

3. This action complains that the Idaho Bar Association is in violation of the public
Trust and is a Monopoly. (Idaho Code 48-603 (7), (9), (17), & (18)... Idaho Code 48-603C (2)
(a)... and 15 USC Chapter 1)

4. This action complains that the defendants are involved in Ongoing Racketeering

Activities. (Idaho Code 18-7803 ... and 18 USC Chapter 96)

JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction pursuant to 42 USC § 1983 in that Actors
for the State of Idaho have violated the Civil Rights of the Plaintiffs Under Color of Law.

6. This Court also has Jurisdiction as the State of Idaho refuses to hear any complaints of
the Plaintiffs after having declared VAN HOOK a Vexatious Litigant... Furthermore, the
complaints of VAN HOOK not only relate to damages resulting from violations of Idaho State
Law, but are also Violations of United States Federal Law(s), giving this court jurisdiction over

those matters.

 
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PLAINTIFFS

7. Plaintiff VAN HOOK is 49 years of age and a Citizen of the State of Idaho, Residing
in Payette County since 2018. Prior to that, VAN HOOK resided in Owyhee County Idaho from
2014 to 2018... and prior to that VAN HOOK resided in Canyon County, Idaho since 2005.

8. Plaintiff Gabriel is 15 years of age, born in Washington Missouri on 02-24-2004, and
resided in Canyon County Idaho from 2005 to 2014 with both his Mother (Dawn Renee Cannon
f.k.a. Van Hook) and VAN HOOK. From 2014 to 2018, Gabriel resided with his Mother and
with Lloyd and Karen Elderedge in Canyon, Valley and Adams Counties in Idaho. In 2018,
Gabriel returned to live with VAN HOOK and has resided with him since.

9. Plaintiff Nathan is 11 years of age, born in Boise Idaho on 08-10-2007 and resided in
Canyon County Idaho from his birth to 2014 with both his Mother (Dawn Renee Cannon f.k.a.
Van Hook) and VAN HOOK. From 2014 to 2018, Nathan resided with his Mother and with
Lloyd and Karen Elderedge in Canyon, Valley and Adams Counties in Idaho. As of this date,
Nathans whereabouts are unknown.

10. In 2014, VAN HOOK was awarded sole legal custody of Gabriel and Nathan in
Canyon County CV-2014-7409. Dawn Renee Cannon was then awarded custody of Gabriel and
Nathan in Adams County CV-2014-3311. Adams County CV-2014-3311 became consolidated
with Canyon County CV-2014-7409 where Dawn Renee Cannon was awarded sole legal custody
of Gabriel and Nathan.

11. The Order of the Court in CV-2014-3311 forbid Dawn Renee Cannon from allowing
Gabriel or Nathan from having any contact whatsoever with Lloyd and Karen Elderedge...
however, the Court in CV-2014-7409 refused to hear any matter that pertained to CV-2014-3311

despite those cases being consolidated. CV-2014-7409 was decided in 2015, giving Dawn

 
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Renee Cannon full legal custody of Gabriel and Nathan, and allowing contact again with Lloyd
and Karen Elderedge and also allowing Dawn Renee Cannon to terminate any relationship
between VAN HOOK with Gabriel and Nathan as the Order in CV-2014-7409 was tantamount

to the termination of the parental rights of VAN HOOK.

DEFENDANT - the STATE of IDAHO

12. The State of Idaho, without sovereign immunity, has failed to protect the Plaintiffs as
required by the United States Constitution 14th Amendment.

13. Idaho has waived sovereign immunity as per Idaho Constitution Article I Section 3 -
"The state of Idaho is an inseparable part of the American Union, and the Constitution of the
United States is the supreme law of the land."

14. Idaho has waived sovereign immunity as it has accepted funding by the United States
through the Social Security Act Title IV.

15. The State of Idaho has Damaged each of the Plaintiffs in excess of $75,000.00.

DEFENDANT - IDAHO BAR ASSOCIATION
16. PLAINTIFFs accuse Defendant IDAHO BAR ASSOCIATION, a self governed
organization, of Anti-Trust and/or Monopoly Practices per Idaho Codes 48-603 (7), (9), (17), &
(18), and 48-603C (2) (a)
17. Senior Members of the Idaho Bar Association are also Members of the Idaho
Judicial Council (an arm of the Idaho State Government). The Idaho Bar Association failed to
act on complaints submitted by VAN HOOK regarding the activities of STEVEN FISHER,

MARY GRANT, KIMBERLI STRETCH, and VIRGINIA BOND. The Idaho Judicial Council

 
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failed to act on complaints submitted by VAN HOOK regarding the activities of Magistrate
Judge Gary DeMeyer. Members of the Idaho Supreme Court are also members of the Idaho
Judicial Council.

18. The Idaho Bar Association has Vicarious Liability for its members and their failures

to represent the interests of their clients and abide by the Idaho rules of Professional Conduct.

DEFENDANT - STEVEN FISHER
and Fisher Law Office, PLLC

19. PLAINTIFFs accuse Defendant STEVEN FISHER (hereinafter "FISHER"), Actor
for the State of Idaho, of Conspiring with Defendant MARY GRANT and Magistrate Judge Gary
DeMeyer, to violate the Civil Rights of PLAINTIFFs, and by acting to effect that conspiracy.

20. FISHER failed in the Fiduciary Duties he owed to VAN HOOK as are clearly laid
out in the Idaho Rules of Professional Conduct.

21. FISHER was a party to Fraud on the Court in Canyon County CV-2014-7409.

22. FISHER damaged each of the PLAINTIFFs in excess of $75,000.00.

DEFENDANT MARY GRANT
and Idaho Legal Aid Services Inc.

23. PLAINTIFFs accuse Defendant MARY GRANT (hereinafter "GRANT"), Actor for
the State of Idaho, of Conspiring with Defendant FISHER and Magistrate Judge Gary DeMeyer,
to violate the Civil Rights of PLAINTIFFs, and by acting to effect that conspiracy. GRANT was

also a party to Fraud on the Court in Canyon County CV-2014-7409.

24. GRANT damaged each of the PLAINTIFFs in excess of $75,000.00.

 
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DEFENDANT KIMBERLI STRETCH
and Idaho Legal Aid Services Inc.

25. PLAINTIFFs accuse Defendant KIMBERLI STRETCH (hereinafter "STRETCH"),
Actor for the State of Idaho, of Conspiring with Defendant GRANT and Magistrate Judge Gary
DeMeyer, to violate the Civil Rights of PLAINTIFFs, and by acting to effect that conspiracy.

26. PLAINTIFFs accuse Defendant STRETCH, Actor for the State of Idaho, of
Conspiring with Defendant VIRGINIA BOND and Magistrate Judge Gary DeMeyer, to violate
the Civil Rights of PLAINTIFFs, and by acting to effect that conspiracy.

27. PLAINTIFFs accuse STRETCH of committing Fraud on the Court in Canyon
County CV-2014-7409.

28. STRETCH damaged each of the Plaintiffs in excess of $75,000.00.

DEFENDANT VIRGINIA BOND
and Bond Law Chartered

29. PLAINTIFFs accuse Defendant VIRGINIA BOND (hereinafter "BOND"), Actor for
the State of Idaho, of Conspiring with Defendant STRETCH and Magistrate Judge Gary
DeMeyer, to violate the Civil Rights of PLAINTIFFs, and by acting to effect that conspiracy.

30. BOND failed in the Fiduciary Duties she owed to VAN HOOK as are clearly laid out
in the Idaho Rules of Professional Conduct. Furthermore, STRETCH was a party to a Fraud on
the Court in Canyon County CV-2014-7409.

31. BOND damaged each of the Plaintiffs in excess of $75,000.00.

 
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DEFENDANT CHRISTOPHER D. BOYD
Adams County Prosecutor and/or Adams County Idaho

32. PLAINTIFF VAN HOOK accuses DEFENDANT CHRISTOPHER D. BOYD
(hereinafter "BOYD") of false arrest and incarceration. BOYD, in his official capacity as Adams
County Prosecutor, had the Adams County Sheriff's Department arrest and incarcerate VAN
HOOK in Adams County CR02-18-020358 for felony witness intimidation, misdemeanor
Disturbing the Peace, and misdemeanor Contempt of Court. VAN HOOK was deprived of all

civil Rights for a period of over 26 Hours. All charges against VAN HOOK were dismissed.

33. BOYD was party to failing to send all Court documents in CV-2014-3311 to Canyon
County when cases were consolidated in CV-2014-7409 in Canyon County.
34. BOYD Damaged VAN HOOK for false arrest and incarceration in excess of

$75,000.00.
35. BOYD damaged each of the Plaintiffs in withholding documents in the case

consolidation (referenced in paragraph 33) in excess of $75,000.00.

CIVIL RIGHTS VIOLATIONS
36. PLAINTIFFs accuse all DEFENDANTSs of having conspired to violate, and acting
on those conspiracies to violate the following Civil Rights of PLAINTIFFs:
Amendment | - Free Speech and Right to Petition for Redress of Grievances
Amendment 5 - Deprived of Life, Liberty and Property without Due Process
Amendment 8 - Cruel and Unusual Punishment
Amendment 9 - (as decided in Wise v. Bravo)
"The Ninth Amendment acknowledged the prior existence of fundamental rights
with it: "The enumeration in the Constitution, of certain rights, shall not be
construed to deny or disparage others retained by the people." The United States

Supreme Court in a long line of decisions, has recognized that matters involving

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marriage, procreation, and the parent-child relationship are among those
fundamental "Liberty" interests protected by the Constitution. Thus, the decision
in Roe V. Wade, 410 US 113; 93 S Ct 705; 35 L Ed 2d 147, (1973), was recently
described by the Supreme Court as founded on the "Constitutional underpinning
of ... arecognition that the "liberty" protected by the Due Process Clause of the
14th Amendment includes not only the freedoms explicitly mentioned in the Bill
of Rights, but also a freedom of personal choice in certain matters of marriage and
family life." The non-custodial divorced parent has no way to implement the
constitutionally protected right to maintain a parental relationship with his child
except through visitation. To acknowledge the protected relationship as the
majority does, and yet deny protection under section 1983, to visitation,

which is the exclusive means of effecting that right, is to negate the right
completely. Wise v. Bravo, 666 F 2d 1328, (1981)"

Amendment 13 Involuntary Servitude

Amendment 14 Due Process and Equal Protection under the Law

US Constitution Article 1, Section 9, Clause 8 forbidding Titles of Nobility:
No man in this country is so high that he is above the law. No officer of the law
may set that law at defiance with impunity. All the officers of the government
from the highest to the lowest, are creatures of the law, and are bound to obey it.

United States v. Lee, 106 U.S.196, 220, 1 S.Ct. 240, 27 L.Ed. 171 (1882)
Buckles v. King County 191 F.3d 1127, *1133 (C.A.9( Wash.), 1999)

RACKRTEERING
37. PLAINTIFFs accuse the DEFENDANTS of being Racketeers who have caused
damage to the PLAINTIFFs per Idaho Code 18-7803 - with crimes pursuant thereto and other
Criminal Acts in violation of Idaho Code(s) as follows:
18-2403 theft
18-2407 (1) Grand Theft (b) 1. Value in excess of $1000
18-4501 2. Kidnapping
18-4015 Assault with intent to murder
18-5401 Perjury
38. Criminal acts by Actors for the State, that did harm the PLAINTIFFs:
18-1701 Conspiracy

18-2403 Extortion
18-2603 Destruction, Alteration or Concealment of Evidence

 
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18-2901 False Imprisonment

18-3201, 3202, and/or 3203 Stealing or Falsifying Records

18-3601 or 18-3602 Forgery

18-5410 subordination of perjury

18-5413 Providing False Information to Law Enforcement Officers, Government
Agencies, or specified Professionals.

18-5414 intentionally making False Statements

39. Other criminal acts by Dawn Renee Cannon (f.k.a. Van Hook) and/or Lloyd and

Karen Elderedge that have been covered-up by the DEFENDANTs, Actors for the State, with
intent to prevent prosecution of the perpetrator(s), while showing favoritism to Dawn Renee
Cannon, while Dawn Renee Cannon knowingly exploits this favoritism, to prevent PLAINTIFFs
from raising issues that are harmful to Gabriel and Nathan:

18-909 Assault with intent to commit murder

18-910 Assault with the intent to commit a serious felony

18-911 Battery with the intent to commit a serious felony

18-905 (b) Aggravated Assault

18-1101 Polygamy

18-1501 (1) Injury to Children

18-1506 (1) (b) and/or (1) (d) Sexual Abuse

18-1509 (1) (a) Enticing of Children

18-1801. 4. Contempt

18-4501 Kidnapping

18-4506 1. (a) and/or (b) Custodial Interference

18-6601 Adultery

23-603 - Alcoholic Beverages - giving to minors

40. Racketeering activities are also in violation of 18 USC Chapter 96.

MONOPOLY and ANTITRUST
41. DEFENDANT Idaho Bar Association, a Monopoly and in violation of Trust has

harmed PLAINTIFFs per Idaho Codes 48-603 (7), (9), (17), & (18) and 48-603C (2) (a).

42, Monopoly and Antitrust activities are also in violation of 15 USC Chapter 1.

CONTRACTUAL ISSUES

 
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43. DEFENDANTS FISHER and BOND remain contractually obliged to VAN HOOK,
as they have not lawfully taken leave from representation of VAN HOOK, and as FISHER also
has a remaining motion unsatisfied in CV-2014-6865. FISHER and BOND have both breached
their contracts with PLAINTIFF and with Gross Negligence have harmed all PLAINTIFFs.

Implied in Fact Contract - Baltimore & Ohio Railroad Co. v. U.S. (21 U.S. 592 (1923))

An implied in fact contract consists of obligations arising from a mutual agreement and

intent to promise where the agreement and promise have not been expressed in words.

OTHER DAMAGES

44, DEFENDANTS have caused PLAINTIFFs Damaging Emotional Distress.

45, PLAINTIFFs seeks Punitive Damages Per Idaho Code 6-1604

INTENT TO SUBMIT EVIDENCE
46. PLAINTIFFs intend to submit into evidence, among other things, the following
Idaho Court Cases... which is to include every single document filed, every affidavit, every
decision, every note taken, every word spoken, every argument made, every appeal to the
District Court. Etc. Everything pertaining to the following cases:
Canyon County Cases:

CV-2014-6865 (CPO granted)

CV-2014-8801 (CPO denied)

CV-2014-9041 (CPO denied)

CV-2014-11708 (CPO denied)

CV-2014-7409 (Divorce and Custody (consolidated with Adams County CV-
2014-3311))

CV-2016-5044 (Mandamus and Habeas Corpus - case bifurcated and sent to
Adams County)

CV-2016-11807 (Civil Complaint - Dismissed)

CV-2017-3444 Vexatious Litigant Order

CV14-18-5576 (Request for leave to bring civil complaint - Dismissed)

Adams County Cases:

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CV-2014-3311 (CPO - Consolidated with Canyon County CV-2014-7409)
CV-2017-3664 (Habeas Corpus from bifurcated Canyon County CV-2016-5044 -
Dismissed)
CRO02-18-020358 (Gabriels case)
CRO02-18-020358 (Van Hook criminal case - dismissed)
Owyhee County case:
CV-2015-0678 (Petition for Restraining Order - Denied)
Idaho Supreme Court Cases:
Docket Number 44989
Docket Number 45459-2017 and associated Motion for Expedited Hearing and
Petitions for Writ of Certiorari and Writ of Habeas Corpus.
SUMMARY OF EVENTS LEADING TO THIS SUIT
47, PLAINTIFFs will submit a First Declaration, that is forthcoming, which will further
clarify events that have led to this Complaint, and will be more specific in describing the

activities of the DEFENDANTSs that PLAINTIFFs complain of.

48. There may be others named in this suit, currently named as John Doe(s) 1-100 and
Unknown Agents (of Idaho Third Judicial District), subject to Leave being granted by this Court
if that becomes necessary, should any of the Defendants deny responsibility and accuse another

of having fault in these Travesties of Justice.

PRO SE LITIGANT
49. Pro Se litigants' Court submissions are to be construed liberally and held to less
stringent standards than submissions of lawyers. If the Court can reasonably read the
submissions, it should do so despite failure to cite proper legal authority, confusion of legal

theories, poor syntax and sentence structure, or litigant's unfamiliarity with rule requirements.

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Boag v. MacDougall, 454 U.S. 364, 102 S.Ct.700, 70 L.Ed.2d 551 (1982); Estelle v. Gamble,
429 US. 97, 106, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976) (quoting Conley v. Gibson, 355 U.S. 41,
45-46, 78 S.Ct. 99, 2 L.Ed.2d 80 (1957)); Haines v. Kerner, 404 U.S. 519, 92 S.Ct. 594, 30,
L.Ed.2d (1972); McDowell v. Delaware State Police, 88 F.3d 188, 189 (3rd Cir. 1996); United
States v. Day, 969 F.2d 39, 42 (3rd Cir. 1992) (holding pro se petition cannot be held to same
standard as pleadings drafted by attorneys); Then v. I.N.S., 58 F.Supp.2d 422, 429 (D.N.J. 1999)
50. PLAINTIFF VAN HOOK states that he is bringing this suit Pro Se without the aid of
an attorney as there is no attorney that he can find that is willing to take the case. VAN HOOK
further states that numerous attorneys have identified many of the issues presented in this case as

being illegal and/or unethical, yet they still refuse to have anything to do with this case or any of

the subject matter in any court forum.

Dated this ye ® day of VA J. 2 , 20 7.

Respectfyfly Submitted;
Mh WA |. iat

Ronald Van Hook

 

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CERTIFICATE OF SERVICE

Thereby certify that on the % i day of

Maz 217 ,

I caused a true and correct copy of the foregoing

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to be served on the following person(s) in the manner indicated as follows:

By Cacptee/ la!

State of Idaho - Attn. Attorney General
Honorable Mr. Lawrence G. Wasden
Office of the Attorney General

700 W. Jefferson Street

Suite 210

P.O. Box 83720

Boise, Idaho 83720-0010

Idaho Bar Association

Attn: Executive Director - Diane Minnich
525 W. Jefferson St.

Boise, ID 83702

Unknown Agents (of Idaho Third Judicial
District)

Serve Administrative District Court Judge
Honorable Judge Susan Wiebe

1115 Albany St.

Caldwell, ID 83605

Christopher D. Boyd
Adams County Prosecutor
P.O. Box 604

Council, ID 83612

(n.d) Uh Mla

to:

Steven Fisher

Fisher Law Office, PLLC
1859 S. Topaz Way #200
Meridian, ID 83642

Mary Grant

Huntley Law Firm, PLLC
950 W. Bannock St. #600
Boise, ID 83702

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Idaho Legal Aid Services Inc.
1447 Tyrell Ln.

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Virginia Bond

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1511 N. Whitley Drive
Fruitland, ID 83619

 

 

Signature

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